         Case 2:17-cv-01049-MMB Document 69 Filed 08/17/21 Page 1 of 2




                    UNITED STATES DISTRICT COURT
            FOR THE EASTERN DISTRICT OF PENNSYLVANIA
RONALD WATSON                  :
                               :     No.: 2:17-cv-01049-MMB
    v.                         :
                               :
LLOYD INDUSTRIES, INC.         :


    ORDER FOR ENTRY OF INCREASED JUDGMENT THROUGH JUNE 30, 2021


       This is an employment discrimination case, in which the jury returned a verdict in favor

of Plaintiff for compensatory and punitive damages which was entered as a judgment on

November 18, 2018, and the Court entered an Order granting a reduction in the amount of

punitive damages resulting in a reduced verdict of $599,960.00 (ECF 46), and the Court

subsequently awarded attorneys’ fees and costs totaling $57,919.20 on June 10, 2019 (ECF 49),

and total combined judgment amount of $657,879.20 was deposited with the Registry of the

Court on July 19, 2019 on a Supersedeas Bond and Stay of Judgment pending appeal (ECF 56),

and whereas the total combined judgment amount was affirmed by the Third Circuit (ECF 59),

and the Third Circuit subsequently awarded additional attorneys’ fees in the sum of $67,275.00

for all work performed on appeal through September 8, 2020 (ECF 58), and this Court

subsequently granted Plaintiff’s motion for additional attorneys’ fees after September 8, 2020 in

the sum of $45,776.00 (ECF 66), and the parties have agreed to a total of $44,116.08 in total

post-judgment interest through June 30, 2021, it is hereby ORDERED that an increased

judgment shall be entered $817,534,98.

       It is further ORDERED that the Clerk of Court will be deemed in compliance with
         Case 2:17-cv-01049-MMB Document 69 Filed 08/17/21 Page 2 of 2




Section 3 of the Order of June 30, 2021 (ECF 65) upon entry of this Order.



        8/17/2021
Date: _____________


                                             /s/ MICHAEL M. BAYLSON
                                            ______________________________
                                            MICHAEL M. BAYLSON, U.S.D.J.
